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            EXHIBIT 10
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 -------------------------------x

 SIMO HOLDINGS INC.,

                       Plaintiff,
                                                     CIVIL ACTION NO. 18CV5427 (JSR)
        -v-

 HONG KONG UCLOUDLINK NETWORK
 TECHNOLOGY LIMITED, AND
 UCLOUDLINK (AMERICA), LTD.,

                       Defendants.

 -------------------------------x

 PLAINTIFF SIMO HOLDINGS INC.’S DISCLOSURE OF ASSERTED CLAIMS AND
   INFRINGEMENT CONTENTIONS PURSUANT TO LOCAL PATENT RULE 6

       Plaintiff SIMO Holdings Inc. (“Plaintiff” or “SIMO”) submits its Patent Rule (“P.R.”) 6

Disclosures to Defendants Hong Kong uCloudlink Network Technology Limited and Ucloudlink

(America), Ltd. (collectively, “uCloudlink” or “Defendants”) with respect to U.S. Patent No.

8,116,735 (“the ’735 patent”) and U.S. Patent No. 9,736,689 (“the ’689 patent”) (collectively,

“Asserted Patents”).
       Discovery in this matter has just begun and SIMO’s investigation regarding infringement

is ongoing. To this date, SIMO has not received any discovery responses or document

production from uCloudlink. These disclosures are therefore based on information that SIMO

has been able to obtain to date regarding the function and operation of the Accused System and

Method (as defined below), together with SIMO’s present understanding of the meaning and

scope of the asserted claims. SIMO reserves the right to supplement and/or amend its




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disclosures as additional information is ascertained through discovery and after the Court has

construed the Asserted Patents.1


                                    RULE 6 DISCLOSURES

       Pursuant to P.R. 6, SIMO, by and through its undersigned attorneys, states as follows:

A.     Each claim of each patent-in-suit that is allegedly infringed

       SIMO asserts that uCloudlink has infringed and continues to infringe, has contributed to

and continues to contribute to the infringement of, and has actively induced and continues to

actively induce others to infringe at least the following claims of the Asserted Patents (“Asserted

Claims”):

       Claims 1─4, 8, 9, 13, and 14 of the ’735 patent;

       Claims 1, 5, 7, 8, 10─14, 19, and 20 of the ’689 patent.

       This identification is tentative. SIMO reserves the right to supplement and/or amend its

disclosures to identify additional claims infringed by uCloudlink as discovery is undertaken, in

accordance with the Local Rules and the Court’s procedures.

B.     Each product or process of each opposing party of which the party claiming

       infringement is aware that allegedly infringed each identified claim

       a. Accused System and Method
       Plaintiff accuses uCloudlink’s Glocalme G2, G3 and U2 Series WiFi hotspot devices and

S1 mobile phone, and their provision, use, testing, and operation, of directly infringing the ’735

and ’689 patents. The term “Accused System and Method” includes uCloudlink’s Glocalme G2,


1
  In many portions of SIMO’s P.R. 6 disclosures, SIMO has gone beyond the disclosure required
by P.R. 6. These additional disclosures and citations are made for the benefit of uCloudlink.
SIMO in no way confines its contentions to the specific citations of evidence and explicitly
reserves the right to rely on additional or different evidence as the case moves forward through
fact discovery, expert discovery, and trial. Furthermore, any omission of any other specific
citation to the Accused System and Method or documents related thereto does not constitute a
waiver of SIMO’s right to raise any issues related to the Accused System and Method or other
documents related thereto at a later date.
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G3 and U2 Series WiFi hotspot devices and S1 mobile phone, and all substantially similar

mobile roaming devices and systems. The term “Accused System and Method” also includes the

associated hardware, software, data, processes and methods related thereto.

       Plaintiff further accuses Defendants of indirectly infringing the ’735 and ’689 patents

through providing, authorizing, and instructing regarding the Accused System and Method to

others, including its customers. Installing or activating the Accused System and Method and the

operation thereof directly infringe the Asserted Claims. Defendants intend to cause infringement

by its customers, users and operators. Defendants further instruct users to operate the Accused

System and Method in an infringing manner. Defendants further instruct users to configure and

operate the Accused System and Method in an infringing manner. Defendants also provide

support services for the Accused System and Method, including providing instructions, guides,

networked information, and technical support.

       The Asserted Claims include elements that are implemented, at least in part, by

proprietary electronics and software in the Accused System and Method. The precise designs,

processes, and algorithms used in them are held secret, at least in part, and to that extent are not

publicly available. An analysis of Defendants’ documentation and/or source code is necessary to

fully and accurately describe all infringing features and functionality of the Accused System and

Method. Accordingly, Plaintiff reserves the right to supplement these contentions after such
information is made available to Plaintiff. Furthermore, Plaintiff reserves the right to revise

these contentions as discovery in the case progresses, in view of the Court’s final claim

construction in this action and in connection with the provision of its expert reports.

       SIMO reserves the right to supplement and/or amend this disclosure to identify and

accuse additional uCloudlink Accused System and Method released, developed, or made

available by uCloudlink after the date on which these disclosures are served, or of which SIMO

was not aware at the time of these disclosures.

       b. Claim Charts



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       SIMO’s claim charts identifying specifically where each element of each Asserted Claim

is found within the Accused System and Method are attached as Exhibits 1 to 2. The charts are

based on information currently known to SIMO and contain illustrative (not exhaustive)

examples of presently-known infringement of the Asserted Claims.

C.     Literal Infringement and Doctrine of Equivalents

       Based on its present understanding of the meaning and scope of the claim language, and

the information currently known to it concerning the Accused System and Method, and without

notice of any non-infringement position from uCloudlink, SIMO asserts that uCloudlink literally

infringes each element or step of the Asserted Claims. However, to the extent any claim element

or step is found to be not literally present in or performed by the Accused System and Method,

based on the Court’s claim construction or uCloudlink’s arguments, such claim element or step is

satisfied under the doctrine of equivalents because any difference between such claim element or

step and the element or step of the Accused System and Method is insubstantial. In other words,

the element or step of the Accused System and Method performs substantially the same function,

in substantially the same way, to achieve substantially the same result. As discovery has just

begun and the Court has not construed the Asserted Claims, SIMO reserves the right to

supplement and/or amend its contentions to further detail uCloudlink’s infringement under the

doctrine of equivalents as necessary.




Date: August 27, 2018                               /s/ Matthew J. Weldon

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                                                4
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                                                   ATTORNEYS FOR PLAINTIFF
                                                   SIMO HOLDINGS INC.



                               CERTIFICATE OF SERVICE

       I, Matthew J. Weldon, hereby certify that on August 27, 2018, a copy of the foregoing

document was served via electronic mail on the counsel of record for Defendants.


                                                            /s/ Matthew J. Weldon
                                                            Matthew J. Weldon




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                                                            Exhibit 1
                               Exemplary Infringement Claim Chart for U.S. Patent No. 8,116,735
                                           uCloudlink Accused System and Method



          Claim 1                                          uCloudlink Accused System and Method

[1pre] A method of operating   To the extent the preamble is determined to be limiting, uCloudlink’s Accused System and Method
a foreign wireless             comprise a method of operating a foreign wireless communication device in a local communication
communication device in a      network as a virtual local communication device (e.g., GlocalMe® Inside based on CloudSIM
local communication network
                               technology).
as a virtual local
communication device, said
method comprising:




                               (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)


                               “GlocalMe® Inside is developed based on CloudSIM technology. Under the service, users do not
                               toned to change the SIM card for mobile network connection even visiting different countries.
                               Through the world phone, GlocalMe® Inside will access to the best local mobile network according to
                               user’s location. It supports network service in more than 136 countries. This is the true value of
                               GlocalMe® Inside.”
                               (Source: https://www.ucloudlink.com/html/20180629/176.html)



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                                   “In the beginning of 2018, uCloudlink released the World Phone S1 and P1 at MWC 2018 with a great
                                   market response. This time, at CeBIT 2018 in Germany, uCloudlink introduced the latest innovations
                                   to users – the World Phone P2, which is even more attractive towards its features, appearance and
                                   pricing.
                                   First of all, the build-in GlocalMe® Inside mobile data service is the essential feature of World Phone.
                                   With CloudSIM, the core and patented technology of GlocalMe® Inside, users can freely connect the
                                   data networks in over 100 countries without the limitation of data roaming, for example, ensure
                                   superior data connection service with intelligent best local mobile network matching.
                                   In the beginning of 2018, uCloudlink released the World Phone S1 and P1 at MWC 2018 with a great
                                   market response. This time, at CeBIT 2018 in Germany, uCloudlink introduced the latest innovations
                                   to users – the World Phone P2, which is even more attractive towards its features, appearance and
                                   pricing.
                                   First of all, the build-in GlocalMe® Inside mobile data service is the essential feature of World Phone.
                                   With CloudSIM, the core and patented technology of GlocalMe® Inside, users can freely connect the
                                   data networks in over 100 countries without the limitation of data roaming, for example, ensure
                                   superior data connection service with intelligent best local mobile network matching.”
                                   (Source: https://www.ucloudlink.com/html/20180703/181.html)

[1a] enabling an initial setting   uCloudlink’s Accused System and Method comprise enabling an initial setting (e.g., registration,
of said foreign wireless           activation and/or login) of said foreign wireless communication device for enrolling said foreign
communication device for           wireless communication device in service, wherein said initial setting is based on communications
enrolling said foreign             (e.g., the accused device connecting to service) between said foreign wireless communication device
wireless communication             and a remote administration system (e.g., uCloudlink’s “PaaS” platform).
device in service, wherein
said initial setting is based on
communications between
said foreign wireless
communication device and a
remote administration
system,




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     (Source: https://www.glocalme.com/service/question?giso=US)




     (Source: https://www.glocalme.com/service/instruction)




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     (Glocalme App)




     (Glocalme G3)




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     (Glocalme G3)




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                               (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
                               pains/description)

[1b] said foreign wireless     In uCloudlink’s Accused System and Method, the foreign wireless communication device comprises a
communication device           foreign wireless client and an extension unit which are coupled with each other, said extension unit
comprises a foreign wireless   wirelessly communicating directly with said foreign wireless client (e.g., Wi-Fi connection).
client and an extension unit
which are coupled with each
other, said extension unit
wirelessly communicating
directly with said foreign
wireless client,



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     (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)




     (Source: https://www.amazon.com/GlocalMe-Hotspot-Upgraded-Worldwide-


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     International/dp/B072KKF37M/ref=sr_1_3?ie=UTF8&qid=1528224511&sr=8-3&keywords=glocalme)




     (Source: https://www.glocalme.com/service/instruction?giso=US)




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                             (Source: https://www.ucloudlink.com/html/world-phone/)


[1c] said local              uCloudlink’s Accused System and Method comprise said local communication network and said
communication network and    remote administration system (e.g., uCloudlink’s “PaaS” platform), and said remote administration
said remote administration   system further comprises at least one authentication server, at least one provisioning server, at least
system, and said remote      one communication server, at least one subscriber database, at least one routing database, and at


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administration system further    least one authentication bank having a plurality of subscriber identity modules (SIMs) (e.g., modules
comprises at least one           within uCloudlink’s “PaaS” platform), phones and authentication data (e.g., SIM profiles within
authentication server, at        uCloudlink’s “PaaS” platform), and wherein said at least one authentication server and said at least
least one provisioning server,   one provision server are coupled to a data network.
at least one communication
server, at least one
subscriber database, at least
one routing database, and at
least one authentication
bank having a plurality of
subscriber identity modules
(SIMs), phones and
authentication data, and




                                 (Source: https://www.glocalme.com/service/instruction?giso=US)




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     (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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     (GlocalMe G3)




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     (Source: https://www.ucloudlink.com/html/paas-platform/)




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                               (Source: https://www.ucloudlink.com/html/paas-platform/)

[1d] wherein said at least one In uCloudlink’s Accused System and Method, said at least one authentication server and said at least
authentication server and      one provision server are coupled to a data network.
said at least one provision
server are coupled to a data
network;




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                                 (Source: https://www.ucloudlink.com/html/paas-platform/)

[1e] establishing a data         uCloudlink’s Accused System and Method comprise establishing a data communication link to
communication link to            transmit information among said foreign wireless communication device, a service provider in said
transmit information among       local communication network, and said remote administration system upon said enabling said initial
said foreign wireless            setting (e.g., connecting to service).
communication device, a
service provider in said local
communication network, and
said remote administration
system upon said enabling
said initial setting,


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     (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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                               (Glocalme G3)

[1f] wherein said service      In uCloudlink’s Accused System and Method, said service provider comprises a plurality of mobile
provider comprises a plurality telephone switching centers and base cellular centers, and said service provider further is coupled to
of mobile telephone            said data network and a phone network.
switching centers and base
cellular centers, and said
service provider further is
coupled to said data network
and a phone network;


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     (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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     (Source: https://www.glocalme.com/?giso=US)




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                                (Source: https://www.glocalme.com/mall/wifi?type=inside&giso=US)


[1g] establishing a local       uCloudlink’s Accused System and Method comprise establishing a local authentication information
authentication information      (e.g., request sent to the server to authenticate the “cloud SIM”) which includes a local number and
which includes a local          an International Mobile Subscriber Identity (IMSI) in response to a local authentication request by
number and an International     said service provider to said foreign wireless client upon said established data communication link
Mobile Subscriber Identity      (e.g., authentication request compliant with 2G, 3G, 4G and/or 5G standards).
(IMSI) in response to a local
authentication request by


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said service provider to said
foreign wireless client upon
said established data
communication link,




                                (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)




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     (Glocalme G3)




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     (Glocalme G3)




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     (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)




     (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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                                 (Source: https://www.ucloudlink.com/html/world-phone/)

[1h] wherein said extension      In uCloudlink’s Accused System and Method, said extension unit wirelessly relays said local
unit wirelessly relays said      authentication information request (e.g., request sent to the server to authenticate the “cloud SIM”) to
local authentication             said at least one authentication server and obtains a suitable local authentication information from
information request to said at   said at least one authentication bank coupled to said at least one said authentication server.
least one authentication



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server and obtains a suitable
local authentication
information from said at least
one authentication bank
coupled to said at least one
said authentication server;




                                 (Glocalme G3)




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     (Glocalme G3)




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     (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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     (Source: https://www.ucloudlink.com/html/paas-platform/)




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     (Source: https://www.ucloudlink.com/html/paas-platform/)




     (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)




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     (Source: https://www.glocalme.com/service/instruction?giso=US)




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                                    (Source: https://www.ucloudlink.com/html/world-phone/)

[1i] establishing a virtual local   uCloudlink’s Accused System and Method comprise establishing a virtual local wireless service
wireless service provided by        provided by said service provider to said foreign wireless client (e.g., registration with local network)
said service provider to said       according to said obtained suitable local authentication information (e.g., authentication response
foreign wireless client             compliant with 2G, 3G, 4G and/or 5G standards), wherein said virtual local wireless service is
according to said obtained          wirelessly requested by said extension unit through said remote administration system (e.g.,
suitable local authentication


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information, wherein said        uCloudlink’s “PaaS platform).
virtual local wireless service
is wirelessly requested by
said extension unit through
said remote administration
system; and




                                 (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)




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     (Source: https://www.glocalme.com/service/instruction?giso=US)




     (Source: https://www.ucloudlink.com/html/world-phone/)




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                                (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
                                pains/description)

[1j] providing a                uCloudlink’s Accused System and Method comprise providing a communication service (e.g., data
communication service to        and/or voice services) to said foreign wireless communication device according to said established
said foreign wireless           virtual wireless service, wherein said foreign wireless client becomes said virtual local wireless
communication device            communication device acting as a local cellular phone (e.g., GlocalMe® Inside based on CloudSIM
according to said established   technology) with an assigned local phone number over a voice link via said phone network and/or
virtual wireless service,       said data link via said data network through said at least one communication server.
wherein said foreign wireless
client becomes said virtual
local wireless communication
device acting as a local


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cellular phone with an
assigned local phone
number over a voice link via
said phone network and/or
said data link via said data
network through said at least
one communication server,
and




                                (Glocalme G3)




                                (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)



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     (Source: https://www.glocalme.com/service/instruction?giso=US)




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     (Source: https://www.ucloudlink.com/html/world-phone/)




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     (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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                                (Source: https://www.glocalme.com/)


[1k] said at least one          In uCloudlink’s Accused System and Method, said at least one communication server is coupled to
communication server is         said data network, said phone network and said at least one routing database having lists of
coupled to said data network,   preferred routing details for connections between different geographic locations, and said assigned
said phone network and said     local phone number is based on said obtained suitable local authentication information.
at least one routing database
having lists of preferred
routing details for
connections between
different geographic
locations, and said assigned
local phone number is based
on said obtained suitable
local authentication
information.




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     (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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     (Source: https://www.ucloudlink.com/html/paas-platform/)




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                              (Source: https://www.glocalme.com/mall/wifi?type=inside&giso=US)


          Claim 2                                        uCloudlink Accused System and Method

[2pre] The method of claim 1, See [1pre] and [1a].
wherein the enabling an
initial setting step further
comprising:



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[2a] requesting a               uCloudlink’s Accused System and Method comprise requesting a subscription to said remote
subscription to said remote     administration system (e.g., uCloudlink’s “PaaS” platform) from said foreign wireless client, said
administration system from      extension unit, or a combination of said foreign wireless client and said extension unit.
said foreign wireless client,
said extension unit, or a
combination of said foreign
wireless client and said
extension unit;




                                (GlocalMe G3)




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     (Source: https://www.glocalme.com/service/instruction?giso=US)




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                               (Source: https://www.ucloudlink.com/html/world-phone/)


[2b] establishing account      uCloudlink’s Accused System and Method comprise establishing account details of said foreign
details of said foreign        wireless client and/or said extension unit (e.g., GlocalMe account registration), wherein said account
wireless client and/or said    details are then stored in said at least one subscriber database by said at least one authentication
extension unit, wherein said   server.


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account details are then
stored in said at least one
subscriber database by said
at least one authentication
server;




                              (Source: https://www.glocalme.com/service/instruction?giso=US)




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     (GlocalMe G3)




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                              (Source: https://www.ucloudlink.com/html/paas-platform/)

[2c] downloading and          uCloudlink’s Accused System and Method comprise downloading and installing a remote
installing a remote           authentication module from said remote administration system to said foreign wireless client and/or
authentication module from    said extension unit (e.g., downloading and installing GlocalMe APP from uCloudlink PaaS Platform).
said remote administration
system to said foreign
wireless client and/or said
extension unit;




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                                  (Source: https://www.glocalme.com/service/instruction?giso=US)

[2d] transmitting credential      uCloudlink’s Accused System and Method comprise transmitting credential parameters and location
parameters and location           parameters of said foreign wireless client and/or said extension unit to said at least one provision
parameters of said foreign        server, wherein said credential parameters and said location parameters are then stored in said at
wireless client and/or said       least one provision server.
extension unit to said at least
one provision server,
wherein said credential
parameters and said location
parameters are then stored
in said at least one provision
server; and




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     (Source: https://www.ucloudlink.com/html/paas-platform/)




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     (Glocalme App)




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                                 (Glocalme G3)

[2e] sending an                  uCloudlink’s Accused System and Method comprise sending an acknowledgement to said foreign
acknowledgement to said          wireless client and/or said extension unit upon said credential parameters and said location
foreign wireless client and/or   parameters are stored in said at least one provision server.
said extension unit upon said
credential parameters and
said location parameters are
stored in said at least one
provision server.




                                 (GlocalMe G3)




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     (Glocalme G3)




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                                 (Glocalme G3)

           Claim 3                                             uCloudlink Accused System and Method

[3pre] The method of claim 1, See [1pre].
wherein the establishing a
data link step further
comprising:

[3a] sending a request for       uCloudlink’s Accused System and Method comprise sending a request (e.g., connecting service) for
said data link from said         said data link from said foreign wireless client and/or said extension unit to said service provider over
foreign wireless client and/or   a command link.
said extension unit to said


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service provider over a
command link;




                                 (GlocalMe G3)

[3b] requesting an               uCloudlink’s Accused System and Method comprise requesting an authentication information stored
authentication information       in said foreign wireless client and/or said extension unit from said service provider to said foreign
stored in said foreign           wireless client and/or said extension unit over said command link (e.g., authentication request
wireless client and/or said      compliant with 2G, 3G, 4G and/or 5G standards).
extension unit from said
service provider to said
foreign wireless client and/or
said extension unit over said



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command link;




                     (GlocalMe G3)




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                              (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)


[3c] locating said            uCloudlink’s Accused System and Method comprise locating said authentication information stored
authentication information    in, said foreign wireless client and/or said extension unit.
stored in, said foreign
wireless client and/or said
extension unit;




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     (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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                                (Glocalme G3)

[3d] sending the located        uCloudlink’s Accused System and Method comprise sending the located authentication information to
authentication information to   said service provider over said command link (e.g., registration with local network; authentication
said service provider over      response compliant with 2G, 3G, 4G and/or 5G standards).
said command link;




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     (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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     (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)




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                                 (Glocalme G3)

[3e] receiving the located       uCloudlink’s Accused System and Method comprise receiving the located authentication information
authentication information       from said foreign wireless client and/or said extension unit at said service provider (e.g., registration
from said foreign wireless       with local network; authentication response compliant with 2G, 3G, 4G and/or 5G standards).
client and/or said extension
unit at said service provider;




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     (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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     (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)




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                                 (Glocalme G3)

[3f] authenticating said         uCloudlink’s Accused System and Method comprise authenticating said foreign wireless client and/or
foreign wireless client and/or   said extension unit according to the received authentication information by said service provider (e.g.,
said extension unit according    subscriber identity authentication).
to the received
authentication information by
said service provider; and




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     (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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                                 (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)

[3g] providing said data link,   uCloudlink’s Accused System and Method comprise providing said data link (e.g., provision of data
which is different to said       and/or voice services), which is different to said command link, upon said authenticated said foreign
command link, upon said          wireless client and/or said extension unit.
authenticated said foreign
wireless client and/or said
extension unit.




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     (Glocalme G3)




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     (Source: https://www.glocalme.com/)




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                              (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
                              pains/description)


          Claim 4                                        uCloudlink Accused System and Method

[4pre] The method of claim 1, See [1pre] and [1g].
wherein the establishing a
local authentication
information step further
comprising:

[4a] sending a request for the uCloudlink’s Accused System and Method comprise sending a request for the communication service


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communication service from    from said extension unit to said service provider over a command link (e.g., a request to register with
said extension unit to said   the local cell network compliant with 2G, 3G, 4G and/or 5G standards).
service provider over a
command link;




                              (GlocalMe G3)




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                                (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)

[4b] responding by              uCloudlink’s Accused System and Method comprise responding by requesting authentication
requesting authentication       information from said service provider to said extension over said command link (e.g., authentication
information from said service   request compliant with 2G, 3G, 4G and/or 5G standards)
provider to said extension
over said command link;




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     (GlocalMe G3)




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                                (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)

[4c] requesting said local      uCloudlink’s Accused System and Method comprise requesting said local authentication information t
authentication information by   (e.g., request sent to the server to authenticate the “cloud SIM”) by said extension unit from said
said extension unit from said   remote administration system (e.g., uCloudlink’s “PaaS” platform) over said established data link.
remote administration
system over said established
data link;




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     (Glocalme G3)




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                                  (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
                                  pains/description)


[4d] looking for suitable local   uCloudlink’s Accused System and Method comprise looking for suitable local authentication
authentication information        information from said at least one authentication bank in response to the requested local
from said at least one            authentication information.
authentication bank in
response to the requested
local authentication
information; and




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     (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)




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     (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




     (Source: https://www.ucloudlink.com/html/paas-platform/)




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                              (Source: https://www.ucloudlink.com/html/paas-platform/)

[4e] sending said suitable    uCloudlink’s Accused System and Method comprise sending said suitable local authentication
local authentication          information found from said at least one authentication bank to said extension unit from said remote
information found from said   administration system (e.g., uCloudlink’s “PaaS” Platform) over said established data link.
at least one authentication
bank to said extension unit
from said remote
administration system over
said established data link.




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     (Glocalme G3)




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     (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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     (Source: https://www.ucloudlink.com/html/paas-platform/)




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                                 (Source: https://www.ucloudlink.com/html/paas-platform/)

          Claim 8                                             uCloudlink Accused System and Method

[8pre] The method of claim 1, See [1pre] and [1i].
wherein the establishing a
virtual local wireless service
step further comprising:

[8a] sending said obtained       uCloudlink’s Accused System and Method comprise sending said obtained suitable local
suitable local authentication    authentication information by said extension unit to said service provider (e.g., authentication
information by said extension    response compliant with 2G, 3G, 4G and/or 5G standards).
unit to said service provider;
and




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     (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)




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                                 (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
                                 pains/description)


[8b] authenticating said         uCloudlink’s Accused System and Method comprise authenticating said extension unit as said virtual
extension unit as said virtual   local wireless communication device.
local wireless communication
device.




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     (Glocalme G3)




     (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)



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                              (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
                              pains/description)


          Claim 9                                        uCloudlink Accused System and Method

[9pre] The method of claim 8, See [8pre].
wherein the providing a
communication step further
comprising:



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[9a] providing a                 uCloudlink’s Accused System and Method comprise providing a communication service to said
communication service to         extension unit according to said authenticating said extension unit as said virtual local wireless
said extension unit according    communication device.
to said authenticating said
extension unit as said virtual
local wireless communication
device;




                                 (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)




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                                 (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
                                 pains/description)


[9b] providing a conduit for     uCloudlink’s Accused System and Method comprise providing a conduit for said communication
said communication service       service by said extension unit to said foreign wireless client.
by said extension unit to said
foreign wireless client; and




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     (Source: https://www.glocalme.com/service/instruction?giso=US)




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                              (Source: https://www.ucloudlink.com/html/world-phone/)


[9c] communicating with a     uCloudlink’s Accused System and Method comprise communicating with a destination device by said
destination device by said    foreign wireless client via said extension unit.
foreign wireless client via
said extension unit.


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      (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)




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      (Source: https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
      pains/description)




      (Source: https://www.glocalme.com/service/instruction?giso=US)




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                                (Source: https://www.ucloudlink.com/html/world-phone/)


          Claim 13                                          uCloudlink Accused System and Method

[13] The method of claim 1,     In uCloudlink’s Accused System and Method, said foreign wireless client and said extension unit are
wherein said foreign wireless   configured to two individual devices.


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client and said extension unit
are configured to two
individual devices.




                                 (Source: https://www.glocalme.com/service/instruction?giso=US)




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                              (Source: https://www.ucloudlink.com/html/world-phone/)


         Claim 14                                          uCloudlink Accused System and Method

[14] The method of claim 1,   In uCloudlink’s Accused System and Method, the method further comprising requesting a re-
the method further            authentication by said service provider to said foreign wireless communication device (e.g., re-


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comprising requesting a re-   authentication compliant with 2G, 3G, 4G and/or 5G standards.)
authentication by said
service provider to said
foreign wireless
communication device.




                              (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)




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                                                             Exhibit 2
                               Exemplary Infringement Claim Chart for U.S. Patent No. 9,736,689
                                            uCloudlink Accused System and Method



          Claim 1                                         uCloudlink Accused System and Method

[1pre] An authentication       To the extent the preamble is determined to be limiting, uCloudlink’s Accused System and Method
bank comprising a plurality    comprise an authentication bank comprising a plurality of physical identification modules (e.g.,
of physical identification     modules within uCloudlink’s “PaaS” platform), wherein a physical identification module includes
modules, wherein a physical    one or more memory, processors, programs, and computer readable media storing subscriber
identification module          identity module and authentication information (e.g., SIM profiles within uCloudlink’s “PaaS”
includes one or more           platform), at least one of the one or more programs stored in the memory comprises instructions
memory, processors,            executable by at least one of the one or more processors.
programs, and computer
readable media storing
subscriber identity module
and authentication
information, at least one of
the one or more programs
stored in the memory
comprises instructions
executable by at least one
of the one or more
processors for:




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                                 (Source: https://www.ucloudlink.com/html/paas-platform/)




                                 (Source: https://www.ucloudlink.com/html/paas-platform/)

[1a] receiving a first request   uCloudlink’s Accused System and Method comprise receiving a first request (e.g., request sent to
for authentication               the server to authenticate the “cloud SIM”) for authentication information, wherein the first request
information, wherein the first   was transmitted over a data channel, for associating a subscriber identity module (SIM) (e.g., a
request was transmitted          SIM located at uCloudlink’s “PaaS” platform) with a foreign wireless communication client or an
over a data channel, for         extension unit (e.g., a Wifi hotspot device or a mobile phone roaming in a foreign country), wherein
associating a subscriber         the SIM is subscribed to a local carrier for a current location of the foreign wireless communication
identity module (SIM) with a     client or the extension unit, wherein the foreign wireless communication client or the extension unit
foreign wireless                 is a wireless device not subscribed to the local carrier, and wherein the first request for
communication client or an       authentication information comprises information regarding a second request (e.g., authentication
extension unit, wherein the      request compliant with 2G, 3G, 4G and/or 5G standards) for local authentication information
SIM is subscribed to a local     received by the foreign wireless communication client or the extension unit from the local carrier
carrier for a current location   over a local cellular communication network.
of the foreign wireless
communication client or the
extension unit, wherein the
foreign wireless



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communication client or the
extension unit is a wireless
device not subscribed to the
local carrier, and wherein
the first request for
authentication information
comprises information
regarding a second request
for local authentication
information received by the
foreign wireless
communication client or the
extension unit from the local
carrier over a local cellular
communication network;




                                (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)




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     (Glocalme G3)




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     (Source:     https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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     (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)




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     (Source: https://www.ucloudlink.com/html/world-phone/)




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     (Source: https://www.ucloudlink.com/html/paas-platform/)




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                               (Source: https://www.ucloudlink.com/html/paas-platform/)

[1b] retrieving subscriber     uCloudlink’s Accused System and Method comprise retrieving subscriber identity information and
identity information and       authentication information for the foreign wireless communication client or the extension unit from
authentication information     the SIM (e.g., a SIM located at uCloudlink’s “PaaS” platform).
for the foreign wireless
communication client or the
extension unit from the SIM;




                               (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)




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                                 (Source: https://www.ucloudlink.com/html/paas-platform/)

[1c] sending the subscriber      uCloudlink’s Accused System and Method comprise sending the subscriber identity information
identity information and the     and the authentication information to the foreign wireless communication client or the extension
authentication information to    unit over the data channel, wherein the data channel is distinct from local wireless services of the
the foreign wireless             local carrier (e.g., different cell service providers) and wherein the authentication information for
communication client or the      the foreign wireless communication client or the extension unit retrieved from the SIM is configured
extension unit over the data     to be sent by the foreign wireless communication client or the extension unit to the local carrier
channel, wherein the data        over signal link of the local cellular communication network to provision a communication function
channel is distinct from local   from the local carrier for the foreign wireless communication client or the extension unit (e.g.,
wireless services of the         registration with local network and provision of data and/or voice services).
local carrier and wherein the
authentication information
for the foreign wireless
communication client or the
extension unit retrieved
from the SIM is configured
to be sent by the foreign


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wireless communication
client or the extension unit
to the local carrier over
signal link of the local
cellular communication
network to provision a
communication function
from the local carrier for the
foreign wireless
communication client or the
extension unit.




                                 (Glocalme G3)




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     (Glocalme G3)




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          Claim 5                                           uCloudlink Accused System and Method

[5pre] The authentication       See [1pre].
bank of claim 1, the memory
comprising instructions
executable by at least one
of the one or more
processors for:

[5a] sending the subscriber     uCloudlink’s Accused System and Method comprise sending the subscriber identity information
identity information and the    and the authentication information to the foreign wireless communication client or the extension
authentication information to   unit, wherein the subscriber identity information and the authentication information are stored by



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the foreign wireless            the foreign wireless communication client or the extension unit.
communication client or the
extension unit, wherein the
subscriber identity
information and the
authentication information
are stored by the foreign
wireless communication
client or the extension unit.




                                (Glocalme G3)

          Claim 7                                           uCloudlink Accused System and Method

[7] The authentication bank     In uCloudlink’s Accused System and Method the first request for authentication information further
of claim 1, wherein the first   comprises at least one of a unique subscriber identifier (e.g., user name), a wireless
request for authentication      communication client identifier (e.g., IMEI identifier), a password, and a current location of the
information further             foreign wireless communication client or the extension unit (e.g., information needed for the server
comprises at least one of a     to select the appropriate local SIM profile).
unique subscriber identifier,
a wireless communication



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client identifier, a password,
and a current location of the
foreign wireless
communication client or the
extension unit.




                                 (Glocalme G3)




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     (Source:     https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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                                 (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)

          Claim 8                                           uCloudlink Accused System and Method

[8pre] A wireless                To the extent the preamble is determined to be limiting, uCloudlink’s Accused System and Method
communication client or          comprise a wireless communication client (e.g., a Wifi hotspot device or a mobile phone) or
extension unit comprising a      extension unit (e.g., a Wifi hotspot device) comprising a plurality of memory, processors, programs,
plurality of memory,             communication circuitry (e.g., as shown on the circuit board below), authentication data stored on
processors, programs,            a subscribed identify module (SIM) card (e.g., as shown on the circuit board below) and/or in
communication circuitry,         memory and non-local calls database, at least one of the plurality of programs stored in the
authentication data stored       memory comprises instructions executable by at least one of the plurality of processors.
on a subscribed identify
module (SIM) card and/or in
memory and non-local calls
database, at least one of
the plurality of programs
stored in the memory
comprises instructions
executable by at least one
of the plurality of processors
for:




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     (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)




     (Source: https://www.amazon.com/GlocalMe-Hotspot-Upgraded-Worldwide-
     International/dp/B072KKF37M/ref=sr_1_3?ie=UTF8&qid=1528224511&sr=8-
     3&keywords=glocalme)




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     (Source: https://www.glocalme.com/mall/wifi?type=inside&giso=US)




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     (Glocalme G3)




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     (Glocalme G3, showing SIM card)




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                              (Glocalme G3 Instructions)

[8a] enabling an initial      uCloudlink’s Accused System and Method comprise enabling an initial setting (e.g., registration,
setting of the wireless       activation and/or login) of the wireless communication client or the extension unit and a remote
communication client or the   administration system.
extension unit and a remote
administration system;




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     (Source: https://www.glocalme.com/service/instruction)




     (Glocalme App)




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                                (Glocalme G3)

[8b] establishing a data        uCloudlink’s Accused System and Method comprise establishing a data communication link to
communication link to           transmit information among the wireless communication client or the extension unit, and the
transmit information among      remote administration system (e.g., connecting to service).
the wireless communication
client or the extension unit,
and the remote
administration system;




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     (Glocalme G3)




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                               (GlocalMe G3)

[8c] establishing a local      uCloudlink’s Accused System and Method comprise establishing a local authentication information
authentication information     request (e.g., request sent to the server to authenticate the “cloud SIM”) in response to a local
request in response to a       authentication request by a local cellular communication network (e.g., authentication request
local authentication request   compliant with 2G, 3G, 4G and/or 5G standards), wherein the local authentication information
by a local cellular            request comprises information regarding the local authentication request for local authentication
communication network,         information received by the foreign wireless communication client or the extension unit from the
wherein the local              local cellular communication network, and wherein the data communication link is distinct from the
authentication information     local cellular communication network (e.g., different cell service providers).
request comprises
information regarding the
local authentication request
for local authentication


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information received by the
foreign wireless
communication client or the
extension unit from the local
cellular communication
network, and wherein the
data communication link is
distinct from the local
cellular communication
network;




                                (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)




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     (Glocalme G3)




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     (Glocalme G3)




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     (Source:     https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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     (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)




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     (Source: https://www.ucloudlink.com/html/world-phone/)




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                              (Source: https://www.glocalme.com/?giso=US)

[8d] relaying the local       uCloudlink’s Accused System and Method comprise relaying the local authentication information
authentication information    request (e.g., request sent to the server to authenticate the “cloud SIM”) to the remote
request to the remote         administration system (e.g., uCloudlink’s “PaaS” platform) via the data communication link and
administration system via     obtaining suitable local authentication information from the remote administration system via the
the data communication link   data communication link.


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and obtaining suitable local
authentication information
from the remote
administration system via
the data communication
link;




                               (Glocalme G3)




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     (Glocalme G3)




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     (Source:     https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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     (Source: https://www.ucloudlink.com/html/paas-platform/)




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                               (Source: https://www.ucloudlink.com/html/paas-platform/)

[8e] establishing local        uCloudlink’s Accused System and Method comprise establishing local wireless services provided
wireless services provided     by the local cellular communication network to the wireless communication client or the extension
by the local cellular          unit (e.g., registration with local network) by sending the local authentication information (e.g.,
communication network to       authentication response compliant with 2G, 3G, 4G and/or 5G standards) obtained from the
the wireless communication     remote administration system to the local cellular communication network over signal link.
client or the extension unit
by sending the local
authentication information
obtained from the remote
administration system to the
local cellular communication
network over signal link;
and




                               (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)




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                               (Glocalme G3)

[8f] providing a               uCloudlink’s Accused System and Method comprise providing a communication service (e.g., data
communication service to       and/or voice services) to the wireless communication client or the extension unit according to the
the wireless communication     established local wireless services.
client or the extension unit
according to the established
local wireless services.




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                              (Glocalme G3)

         Claim 10                                       uCloudlink Accused System and Method

10. The wireless              See [8pre].
communication client or
extension unit of claim 8,
the memory comprising
instructions executable by
at least one of the one or
more processors for:

storing the local             uCloudlink’s Accused System and Method comprise storing the local authentication information
authentication information;   (e.g., authentication information associated with cloud SIM).



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and




           (Glocalme G3)




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                                (Glocalme G3)

relaying the stored local       uCloudlink’s Accused System and Method comprise relaying the stored local authentication
authentication information to   information to the local cellular communication network when the local cellular communication
the local cellular              network attempts to re-authenticate the local authentication information (e.g., re-authentication
communication network           compliant with 2G, 3G, 4G and/or 5G standards.)
when the local cellular
communication network
attempts to re-authenticate
the local authentication
information.




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                             (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)

         Claim 11                                      uCloudlink Accused System and Method

[11pre] The wireless         See [8pre].
communication client or
extension unit of claim 8,
the memory comprising
instructions executable by
at least one of the one or
more processors for:



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[11a] relaying verification   uCloudlink’s Accused System and Method comprise relaying verification information (e.g., login
information to the remote     information) to the remote administration system, wherein the verification information identifies the
administration system,        wireless communication client or extension unit as being associated with a user account of the
wherein the verification      remote administration system.
information identifies the
wireless communication
client or extension unit as
being associated with a
user account of the remote
administration system.




                              (Glocalme G3)




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                              (Glocalme G3)

         Claim 12                                        uCloudlink Accused System and Method

[12] The wireless             In uCloudlink’s Accused System and Method the wireless communication client or the extension
communication client or       unit comprises a foreign wireless communication device not subscribed to the local network (e.g., a
extension unit of claim 8,    Wifi hotspot device or a mobile phone brought by an international traveler to a foreign country).
wherein the wireless
communication client or the
extension unit comprises a
foreign wireless
communication device not
subscribed to the local



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network.




                (Source:     https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
                pains/description)




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     (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)




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                           (Source: https://www.ucloudlink.com/html/world-phone/)


         Claim 13                                    uCloudlink Accused System and Method

[13pre] The wireless       See [8pre].
communication client or


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extension unit of claim 8,
wherein the memory
comprising instructions
executable by at least one
of the one or more
processors for:

[13a] requesting access to a    uCloudlink’s Accused System and Method comprise requesting access to a desired local wireless
desired local wireless          service by sending a request to the local cellular communication network over a signal link (e.g., a
service by sending a            request to register with the local cell network compliant with 2G, 3G, 4G and/or 5G standards).
request to the local cellular
communication network
over a signal link.




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                                 (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)

          Claim 14                                           uCloudlink Accused System and Method

[14] The wireless                In uCloudlink’s Accused System and Method the local authentication information request for
communication client or          authentication information further comprises at least one of a unique subscriber identifier (e.g.,
extension unit of claim 8,       user name), a wireless communication client identifier (e.g., IMEI identifier), a password, and a
wherein the local                current location of the foreign wireless communication client or the extension unit (e.g., information
authentication information       needed for the server to select the appropriate local SIM profile).
request for authentication
information further
comprises at least one of a
unique subscriber identifier,
a wireless communication
client identifier, a password,
and a current location of the
foreign wireless
communication client or the
extension unit.




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     (Glocalme G3)




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     (Source:     https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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                            (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)


        Claim 19                                      uCloudlink Accused System and Method

[19pre] A method for        To the extent the preamble is determined to be limiting, uCloudlink’s Accused System and Method
operating a mobile          comprise a method for operating a mobile telecommunications device (e.g., a Wifi hotspot device
telecommunications device   or a mobile phone) in a communication network.
in a communication
network, comprising:




                            (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)




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     (Source: https://www.amazon.com/GlocalMe-Hotspot-Upgraded-Worldwide-
     International/dp/B072KKF37M/ref=sr_1_3?ie=UTF8&qid=1528224511&sr=8-
     3&keywords=glocalme)




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                                (Source: https://www.glocalme.com/mall/wifi?type=inside&giso=US)

[19a] receiving a first         uCloudlink’s Accused System and Method comprise receiving a first request (e.g., request sent to
request, via a data channel,    the server to authenticate the “cloud SIM”), via a data channel, for associating a subscriber identity
for associating a subscriber    module (SIM) (e.g., a SIM located at uCloudlink’s “PaaS” platform) with a mobile
identity module (SIM) with a    telecommunications device, wherein the SIM is subscribed to a local carrier for a current location
mobile telecommunications       of the mobile telecommunications device and the mobile telecommunications device is not
device, wherein the SIM is      subscribed to the local carrier, and wherein the first request comprises information regarding a
subscribed to a local carrier   second request (e.g., authentication request compliant with 2G, 3G, 4G and/or 5G standards) from
for a current location of the   the local carrier received by the mobile telecommunications device over a local cellular
mobile telecommunications       communication network for local authentication information.
device and the mobile
telecommunications device
is not subscribed to the
local carrier, and wherein
the first request comprises
information regarding a


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second request from the
local carrier received by the
mobile telecommunications
device over a local cellular
communication network for
local authentication
information;




                                (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)




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     (Glocalme G3)




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     (Source:     https://www.kickstarter.com/projects/787756203/glocalme-kills-sim-card-and-roaming-
     pains/description)




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     (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)




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     (Source: https://www.ucloudlink.com/html/world-phone/)




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     (Source: https://www.ucloudlink.com/html/paas-platform/)




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                               (Source: https://www.ucloudlink.com/html/paas-platform/)

[19b] retrieving               uCloudlink’s Accused System and Method comprises retrieving authentication information for the
authentication information     mobile telecommunications device from the SIM (e.g., a SIM located at uCloudlink’s “PaaS”
for the mobile                 platform) in response to receiving the first request for associating the SIM with the mobile
telecommunications device      telecommunications device.
from the SIM in response to
receiving the first request
for associating the SIM with
the mobile
telecommunications device;
and




                               (Source: https://www.etsi.org/deliver/etsi_gts/03/0320/03.03.02_60/gsmts_0320sv030302p.pdf)




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                                (Source: https://www.ucloudlink.com/html/paas-platform/)

[19c] sending the               uCloudlink’s Accused System and Method comprises sending the authentication information to the
authentication information to   mobile telecommunications device over the data channel, wherein the data channel is not
the mobile                      associated with a local wireless service provided to a subscriber of the local carrier (e.g., different
telecommunications device       cell service providers) and wherein the authentication information for the mobile
over the data channel,          telecommunications device retrieved from the SIM is configured to be sent by the foreign wireless
wherein the data channel is     communication client or the extension unit to the local carrier over signal link of the local cellular
not associated with a local     communication network to provision a communication service from the local carrier for the mobile
wireless service provided to    telecommunications device (e.g., registration with local network and provision of data and/or voice
a subscriber of the local       services).
carrier and wherein the
authentication information
for the mobile
telecommunications device
retrieved from the SIM is
configured to be sent by the
foreign wireless


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communication client or the
extension unit to the local
carrier over signal link of the
local cellular communication
network to provision a
communication service from
the local carrier for the
mobile telecommunications
device.




                                  (Glocalme G3)




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     (Glocalme G3)




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                              (Glocalme G3)

         Claim 20                                        uCloudlink Accused System and Method

[20] The method of claim      In uCloudlink’s Accused System and Method the mobile telecommunications device is a foreign
19, wherein the mobile        wireless communications client (e.g., a Wifi hotspot device or a mobile phone) or an extension unit
telecommunications device     (e.g., a Wifi hotspot device).
is a foreign wireless
communications client or an
extension unit.




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     (Source: https://www.glocalme.com/mall/wifi?type=g3&giso=US)




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     (Source: https://www.amazon.com/GlocalMe-Hotspot-Upgraded-Worldwide-
     International/dp/B072KKF37M/ref=sr_1_3?ie=UTF8&qid=1528224511&sr=8-
     3&keywords=glocalme)




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     (Source: https://www.glocalme.com/mall/wifi?type=inside&giso=US)




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